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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ---------------------------------------------------------------------x
    WALTER PACHECO
                                        Plaintiff,
                                                                               FRCP
                                                                               RULE 68
                                                                               OFFER OF
                                                                               JUDGMENT
                     -against-
                                                                   Case No.: 22-cv-02727(GRB)(AYS)
    TNT AUTOMOTIVE CORPORATION
    (d/b/a TNT AUTOMOTIVE SERVICES, JOHN
    TIRPAN and RICHARD DESANNO, individually.

                                        Defendants.
    ---------------------------------------------------------------------x
    To: Lina Stillman
    Attorney for Plaintiff
    42 Broadway
    12th Floor
    NYNY 10004
    Pursuant to Rule 68 of the Federal Rules of Civil Procedure, the defendants TNT
    AUTOMOTIVE CORPORATION, (d/b/a TNT AUTOMOTIVE SERVICES), JOHN
    TIRPAN and RICHARD DESANNO, hereby offer to allow entry of a judgment against
    them in the total amount of $45, 000.00 for all of plaintiff’s claims for relief inclusive of
    legal fees and costs to be paid as follows: (a)$15,000.00 within thirty (30) days of
    plaintiff’s acceptance of this offer of judgment; and (b) $30,000.00 within sixty (60) days
    of the initial payment. This offer of judgment is made solely for the purposes specified in
    Federal Rules of Civil Procedure Rule 68 and is not to be construed as either an
    admission that defendants are liable in this action or that plaintiff suffered any damage.

    This offer of judgment shall not be filed unless (a) accepted by plaintiff or (b) in a
    proceeding to determine costs. In accordance with Federal Rules of Civil Procedure Rule
    68(b) this offer of judgment shall be considered withdrawn if not accepted by plaintiff
    within ten(10) days of receipt.
                                                          Respectfully submitted,

                                                                s/Oscar Michelen
                                                         ___________________________
                                                         OSCAR MICHELEN
                                                         CUOMO LLC
                                                         Attorney for Defendants
                                                         200 Old Country Road Suite 2 South
                                                         Mineola, NY 11501-4242
                                                         516-741-3222 fax: 516-741-3223
